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                                      #:5244



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10                          UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
      JULIE ANN GOLDBERG, an                    Case No: 2:23-cv-02395-GW-AGRx
13    individual;
14                                              Assigned for All Purposes to
            Plaintiff,                          Hon. George H. Wu
15   -vs-
16                                              DEFENDANTS LAURA RACHEL
      LAURA RACHEL RUANO, an                    RUANO AND THOMAS
17    individual; and
      THOMAS MONTELEONE, an                     MONTELEONE’S REPLY EX
18    individual                                PARTE APPLICATION TO
19                                              CONTINUE STAY AND MODIFY
            Defendants.
                                                SCHEDULING ORDER
20

21                                              Hearing Information:
                                                Date: TBD
22                                              Time: TBD
23                                              Courtroom: 9D

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            DEFENDANTS LAURA RACHEL RUANO AND THOMAS MONTELEONE’S REPLY RE EX PARTE
                      APPLICATION TO CONTINUE STAY AND MODIFY SCHEDULING
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                                         #:5245



1           Defendants Laura Ruano (“Ms. Ruano”) and Thomas Monteleone (“Mr.
2    Monteleone” and with Ms. Ruano, “Defendants”) respectfully submit the following
3    reply re Defendant’s Ex Parte Application to Continue Stay for Ninety Days (90) and
4    Modify the Scheduling Order (Dkt. No. 208) to continue the (1) Discovery Cut-off by
5    90 days, (2) Expert Discovery Cut-off by 90 days, (3) the Pre-Trial Conference by 90
6    days, and (4) the Trial by 120 days each, or as soon thereafter as is convenient to the
7    Court (the “Application”).
8           Plaintiff’s entire opposition centers around the false narrative that the filing of a
9    7-page form complaint on, in part, Mr. Monteleone’s behalf, to preserve the statute of
10   limitations somehow renders his treating physician’s medical directives meaningless.
11   That is silly. Mr. Monteleone’s medical professionals have clearly ordered him to
12   refrain from stressful situations including litigation. Here, if the stay is lifted, the parties
13   will have to complete depositions, expert discovery, and other stressful litigation
14   activities in order to prepare the case for trial within the short timeframe required under
15   the current Scheduling Order. This is quite different than the simple filing of a
16   complaint to preserve rights, which requires little to no involvement, and will run afoul
17   of Mr. Monteleone’s doctor’s orders. While Defendants, too, wish to put this case
18   behind them, it is simply not feasible given Mr. Monteleone’s medical condition.
19   Defendants understand there is some delay given their request, but it is out of their
20   control given Mr. Monteleone’s current medical condition, which includes a new and
21   debilitating diagnosis of spinal stenosis made only a few days ago and after the filing
22   of the State Court action.
23
     Dated: June 5, 2025                       MILLER MILLER GERBER LLP
                                               ATTORNEYS AT LAW
24

25
                                        BY: /s/ Jonathan L. Gerber____________________
                                             Jonathan L. Gerber
26                                             Adam I. Miller
                                               Corey A. Miller
27                                             Attorney for Defendants Laura Rachel Ruano and
                                               Thomas Monteleone
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          DEFENDANTS LAURA RACHEL RUANO AND THOMAS MONTELEONE’S REPLY RE EX PARTE
                    APPLICATION TO CONTINUE STAY AND MODIFY SCHEDULING
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1
                                CERTIFICATE OF SERVICE

2
           I hereby certify that on June 5, 2025, I caused to be electronically filed
3
     DEFENDANTS LAURA RACHEL RUANO AND THOMAS MONTELEONE’S
4
     REPLY EX PARTE APPLICATION TO CONTINUE STAY AND MODIFY
5
     SCHEDULING ORDER with the Clerk of the Court by using the CM/ECF system.
6
     Participants in the case who are registered CM/ECF users will be served by the CM/ECF
7
     system. Participants in the case who are not registered CM/ECF users will be served by
8
     mail, electronic mail, or by other means permitted by the court rules.
9

10
     Dated: June 5, 2025                    MILLER MILLER GERBER LLP
11                                          ATTORNEYS AT LAW
12

13                                   BY: /s/ Jonathan L. Gerber____________________
14                                        Jonathan L. Gerber
                                          Adam I. Miller
15                                        Corey A. Miller
16                                        Attorneys for Defendants Laura Rachel Ruano
                                          and Thomas Monteleone
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          DEFENDANTS LAURA RACHEL RUANO AND THOMAS MONTELEONE’S REPLY RE EX PARTE
                    APPLICATION TO CONTINUE STAY AND MODIFY SCHEDULING
